Case 3:16-cv-00544-MAB Document 51-2 Filed 12/14/16 Page1lof8 Page ID #229

STATE OF ILLINOIS )

COUNTY on Sale

AZFIDAVIT OF CUSTODIAN OF GRITVANCE RECORDS
Before me, the undersigned Notary Public, personally appeared VUE m { Run 74

who, being by me duly swom, deposed as follows:

f
My name is Sewy Bento (Custodian of Records), I am of sound

mind, capable of making this affidavit, and personally acquainted with the following facts:

Tara a custodian of the records of the Administrative Review Board, Office of Inmate
Issues, Illinois Department of Corrections, hereinafter ‘the Board,” Attached to this affidavit are
l a pages of records from the Board regarding Gerry Armbruster, #802006. These
pages of records are kept by the Board in the regular course of business, and it was the regular
course of business of the Board for an employee or representative of this facility to make a
record of or to transmit information thereof to be included in such record; and the record was

Tade at or near the time of the act or event, The records attached hereto are the original or exact

duplicates of the original.
St —

Affiant

IN WITNESS WHEREOF [ have hereunto subseribed ty name and affixed my official

 

 

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Notary Public
My Commission Expires: att]
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EXHIBIT

 

ARMBRUSTER ARB 0004

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502006 ARMBRUSTER, GERRY IGRV Inmate History

Hearing/Rec igry Hearing Chair
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MEDICAL 1105/2014 SWC SWC SHBE

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Comments Fiek
GRV# 9-6-14; TX FOR NUMBNESS iN FINGERS, RIGHT ARM/NECK AREA, TINGLING LI

ARMBRUSTER ARB 0005
Case 3:16-cv-00544-MAB Document 51-2 Filed 12/14/16 Page 30f8 Page ID #231

PAT QUINN

| tf if illinois Governor
| Department of S.A. GODINEZ

Correctio ns Director

4301 Concordia Gourt / P.O. Box 19277 / Springfleld IL 62794-9277 / Telephone: {217) 558-2200 ! TDD: (600) 526-0844
November 5, 2014

Gerry Armbruster
2005 14th St
Granite City, 1L 62040

Dear Mr. Armbruster:

This is in response to your grievance received on June 26, 2014, regarding Medical (HCU Visit of 5/13/14},
which was alleged to have occurred at Southwestern Illinois Correctional Center. This office has determined
the issue will be addressed without a formal hearing.

This office has reviewed your grievance dated May 19, 2014, which states in summary that you believe the
Docter at Southwestern failed to properly treat you for the following symptoms on May 13, 2014: numbness
in all finger tips, no grip in right hand, numbness throughout right arm Up to neck area, tingling sensation on
“left side” and both calfs hurt. You write the Doctor stated you were only dehydrated and to drink more water.
As you disagreed, you write you left the Doctor's Office.

The Grievance Officer's Report (9-6-14) and subsequent recommendation dated June 12, 2014 and
approval by the Chief Administrative Officer on June 12, 2014 have been reviewed.

The HCU's response, cited within this report, was reviewed by this office.

Based on a total review of all available information, It is the opinion of this office that the Issue was
appropriately addressed by the institutional administration. it is, therefare, recommended the grievance be
denied.

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FORTHE BOARD; —Lle {it | t I be +o/ NN

Sherry Benton
Administrative Review Board
Office of Inmate tssues

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CONCURRED: \ Ss Sha

S.A. Godinez

Director ah 7 h 3 js i]

 

cc: Warden, Southwestern Illinois Correctional Center
Gerry Armbruster, Register No, $02008

ARMBRUSTER ARB 0006
Case 3:16-cv-00544-MAB Document 51-2 Filed 12/14/16 Page 4of8 Page ID #232

 

 

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RESPONSE TO OFFENDER'S GRIEVANCE =
| Grievance Offierr's Raport j
Date Aecolved: fine lJ. 2914 Date of Pleviowe: tyne 32014 Grlavance #(optonay: 9-6-14
Offender: Arnbaster Comy Aembcnsttt IDE: S006

 

Nature of Grievance: Meilical Treatmes?

Foote Reviowed: Offender Armbrusies claims to have issuse of aunibnven in ofl of hie flager ches arid through the right smo, up to the neck ares, no
fp In bis right hora, and tingling seesetions ou left elde and bath catves hurt, throwing elf his balance, Offender Armbrusior requeats proper

trenumeat. for his probleme,

Offender Armimuter S(2006 was wen by madical pertonne! everyday stisting on 13/34 thay 523/14, The HCU Adeiniswator stated thai the
olfenier chowad evidence of hyperiendinn and wes scheduled for follow ups with the physiciaa, and the offender my swimét a mums sick call mquedt

anytime.

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Recommendation: Based on the statement abows by HCUA Hohasbehn, that the offender was sen by medical perroanel on & cogular basis for
aight consceutlve days, from 5/13 to 5/21, oad was encouraged to submilc a nurse sick call request anytime, thts iiveatlpation finds no substance to
this grisvance. HCUA Hoharbehn stated in her response that Armbruster compiained shout pain ond tingling ever pince "picking up toxic irzys”
Gurleg bis job assignment for Safsty Santiation. Or. Shavz's exam revealed Vim Arcobruster hed equol bitateral prin ateentb, and all of the Joints,
Including the spine moved through o full range of motlon. Dr, Shaw ordered Asrobrutter back exeroiues andi a follow-up for blond pressures checks
twice daily. ‘This offender hos been receiving ongoing modica] asscasments, This Grievance Officer mcoomends gelevance be dinied.

 

 

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(Attach a copy of Offender's Grlovanoe, Taeluding eounedions remponia y? a )

 

 

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1am appeatng the Chief Adminiatestive Officer's decision to the Director. | understand thie must be submited within 30 days after the date of the
Chief Acrolutckative Office's decision tothe Adrinivaiva Review Beard, P.0, Box 15277, eld, LEZTS4-2277. (atteck w complete copy of the
original grievanas, Including tha eourediora reepanes, Ht applicable, end amy portitant denumarils.) .

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OFFENDER'S GRIEVANCE \ ~\4-2 \
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“Ghiel Adrdniatclive Olhoete Signature

 

 

 
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| LUNGS DEPARTMENT OF CORRECTIONS
== OFFENDER'S GRIEVANCE (Continued)

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Case 3:16-cv-00544-MAB Document 51-2 Filed 12/14/16 Page 8of8 Page ID #236

 

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